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                     EXHIBIT B
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       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
       - - - - - - - - - - - - - - - - - - - - x
       VIRGINIA L. GIUFFRE,

                       Plaintiff,
                                                     Case No.:
             -against-                               15-cv-07433-RWS

       GHISLAINE MAXWELL,

                       Defendant.

       - - - - - - - - - - - - - - - - - - - - x

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                     Continued Videotaped Deposition of
               GHISLAINE MAXWELL, the Defendant herein,
               taken pursuant to subpoena, was held at
               the law offices of Boies, Schiller &
               Flexner, LLP, 575 Lexington Avenue, New
               York, New York, commencing July 22,
               2016, 9:04 a.m., on the above date,
               before Leslie Fagin, a Court Reporter
               and Notary Public in the State of New
               York.

                              - - -
                    MAGNA LEGAL SERVICES
                1200 Avenue of the Americas
                 New York, New York 10026
                       (866) 624-6221
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  2    thought.        I really don't recall her, so it's
  3    hard for me to testify what I thought about
  4    her age at the time.
  5            Q.      Was Virginia, in the period of
  6    around 2000, the youngest person that, as you
  7    understood it, was giving Mr. Epstein
  8    massages?
  9                    MR. PAGLIUCA:          Object to the form
10             and foundation.
11             A.      Again, I can't testify to her age,
12     but everybody else that I can recall seemed
13     to be again, like I would say, adults.
14             Q.      You didn't think Virginia was an
15     adult, did you?
16                     MR. PAGLIUCA:          Object to the form
17             and foundation.
18             A.      Like I said, I don't recall her.                   I
19     don't recall thinking about -- my memory is
20     of adults giving Jeffrey massages, and as I
21     don't really remember Virginia around that
22     time, I don't know what I think.
23             Q.      You do remember Virginia, about
24     that time back in the 2000s, giving
25     Mr. Epstein massages?
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  2                    MR. PAGLIUCA:          Object to the form
  3            and foundation.
  4            A.      I barely remember her at all.
  5            Q.      Whether you barely remember her or
  6    not, you do remember that back in the period
  7    around 2000, Virginia was giving Mr. Epstein
  8    massages, right?
  9                    MR. PAGLIUCA:          Objection to form
10             and foundation.
11             A.      Only in the most general terms.                    It
12     would be somebody who would give him a
13     massage, and that's it.
14             Q.      During the period of time back in
15     the period around 2000, when you knew that
16     Virginia was somebody who would give
17     Mr. Epstein a massage, was she somebody who
18     you considered an adult?
19                     MR. PAGLIUCA:          Objection to form
20             and foundation.
21             A.      I didn't consider her at all
22     because she is not somebody that I really
23     interacted with.
24             Q.      It is your testimony that Virginia
25     was not somebody that you interacted with, is
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  2            Q.




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20
21                     MR. PAGLIUCA:          Objection to form
22             and foundation.
23
24
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  2            and foundation.
  3            A.      No.
  4            Q.




  8                    MR. PAGLIUCA:          Objection to form
  9            and foundation.
10             A.      I don't know.
11




17                     MR. PAGLIUCA:          Objection to form
18             and foundation.           Asked and answered.
19             A.      No.
20             Q.      Were they ever in the Virgin
21     Islands?
22                     MR. PAGLIUCA:          Objection to form
23             and foundation.
24             A.      No.
25
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 17




 23
 24                   MR. PAGLIUCA:          Objection to form
 25            and foundation.
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  2            it to something in the case.
  3                   MR. BOIES:        I think it's tied, but
  4            if you instruct her not to answer, it
  5            goes into the --
  6                   MR. PAGLIUCA:          Meat grinder.
  7    BY MR. BOIES:
  8            Q.




                                                                         .
 14            A.     Can you repeat the question?
 15            Q.




 20                   MR. PAGLIUCA:          Same objection.
 21            A.     No.
 22            Q.


 24
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